Case 8:16-cv-01286-DOC-JCG              Document 2        Filed 07/12/16      Page 1 of 1 Page ID
                                             #:10
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                       CASE NUMBER:


                                                          8:16−cv−01286
                                        PLAINTIFF(S)

       v.


                                     DEFENDANT(S).         NOTICE TO FILER OF DEFICIENCIES IN
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